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                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF FLORIDA

                              Case No. lO-CV-80737-HURLEY/HOPKINS
          (Consolidated with Case No.lO-CV-80738-HURLEY/HOPKINS for the Receivership)

     UNITED STATES SECURITIES AND
     EXCHANGE COMMISSION,
     Plaintiff,

     v.

     TRADE-LLC, et aI.,
     Defendants,

     v.

     BD LLC, et aI.,
     Relief Defendants.
     ----------------------------~/
     COMMODITY FUTURES TRADING
     COMMISSION,
     Plaintiff,

             v.

     TRADE-LLC, et aI.,
     Defendants,

     BD LLC, et aI.,
     Relief Defendants.
     ------------------------------~/
                     UNOPPOSED THIRD INTERIM APPLICATION FOR
                 ALLOWANCE OF COMPENSATION AND REIMBURSEMENT
             OF EXPENSES TO MARCUM, RECEIVER'S FORENSIC ACCOUNTANTS

             Pursuant to this Court's July 28, 2010 Agreed Order on Receiver's Motion to Employ

     Forensic Accountants, Marcum ("Marcum") submits their Unopposed Third Interim Application

     for allowance and payment of compensation and reimbursement of expenses for the time-period

     of August 8, 2011 through February 28, 2012.



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                 THE RECEIVER mRES MARCUM FOR FORENSIC ACCOUNTING

            Philip W. Milton and William H. Center raised nearly $30 million from investors. Milton

     and Center then transferred millions of dollars of investor funds to themselves, their companies,

     their wives, their children, their friends, their friends' companies, and other insiders in several

     complicated "step" transactions involving a literal maze of companies.

            Milton and Center set up an elaborate network of approximately sixty bank accounts and

     brokerage accounts at over twenty-five banks and brokerage firms to divert funds. Literally

     millions of dollars of Trade-derived funds were transferred through these various accounts since

     Trade's inception in May 2007.

            In order for the Receiver to determine "where the money went," the Receiver retained the

     accounting firm of Marcum, LLP ("Marcum"). As ofthis Third Fee Application Marcum has

     reconstructed the majority of relevant bank and brokerage accounts to trace the money

     within the elaborate network, as well as the ultimate source and exit of monies. 1 It has been

     a challenging, time-consuming exercise, given the· sheer volume of accounts orchestrated by

     Milton and Center and the fact that Marcum has analyzed nearly three gigabytes of data.

            During the period from August 8, 2011 through February 28, 2012 Marcum expended

     time in connection with the preparation of Partnership Income Tax Returns for all five

     Receivership entities. Each tax return required extensive Disclosure Statements be drafted and

     attached to said returns. Additionally, Marcum assisted the Receiver and his staff with technical


     1  To ensure that the Receiver has received the relevant bank and brokerage records for the
     necessary forensic analysis (which Marcum has analyzed), the Receiver has served countless
     subpoenas on, among others, banks and brokerage firms with accounts in the names of, among
     others, Milton, Center, their companies, their wives, their children, their friends, and their
     friends' companies. The Receiver has also served requests for production on Milton and Center,
     and subpoenas on their wives and children, to ensure that he has all of their banking records as
     well.
                                                   2
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     analysis in preparing IRS reporting requirements                      III       connection with distributions made to

     investors many of whom were fiduciary accounts.



                                   MARCUM RACHLIN'S TIME RECORDS

              This Court granted the Receiver's Motion to Employ Marcum as Forensic Accountants

     on July 28, 2010.        The professional services rendered by Marcum, and the necessary and

     reasonable non-reimbursed out-of-pocket costs relating to those services, are set forth and

     described in more detail on the attached Exhibit A. Exhibit A also reflects Marcum's daily time

     records, which includes the description of services rendered, the hours expended, and the hourly

     rates.

              As this Court can plainly see, fees were kept at a minimum by having associates, junior

     accountants and paraprofessionals perform a substantial portion of the work. 2 In addition, Mr.

     Berger's hourly rate has been reduced to $250.00, Senior Managers hourly rates have been

     reduced to $225.00 and junior accountants and paraprofessionals' hourly rates have reduced to

     between $150.00 and $ 100.00 for this receivership.

              For this Court's convenience, the following              ~s    an aggregate tabular summary for the fees

     and expenses of Marcum.

     PARTNER:

              Name of Accountant             Reduced Hourly Rate Time Expended                          Total per Accountant
              MBerger                                             250.00                        28.40                  7,100.00

              D Appel                                             250.00                         8.50                   2,125.00

              SUB TOTAL                                                                        36.90    $              9,225.00


     2Mr. Berger's standard hourly rate is $400.00. For purposes of this receivership, his hourly rate
     was reduced to $250.00, a reduction of approximately 38%.
                                                    3
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     SENIOR MANAGERS / JUNIOR ACCOUNTANTS:

            Name of Accountant            Reduced Hourly Rate Time Expended                       Total per Accountant
            K Foster                                          225.00                     38.80                       8,730.00

            SKelley                                           225.00                      2.80                        630.00

            J Mastembaum                                      225.00                      8.85                       1,991.25

            J Strohmenger                                     225.00                     20.50                       4,612.50

            CRawson                                           225.00                      6.00                       1,350.00

            R Weingarten                                      225.00                      8.75                       1,968.75

            Y Galarza                                          125.00                     6.84                        855.50

            J Murray                                            40.00                     2.50                        100.00

            L Sookhoo                                           40.00                     0.20                           8.00

             SUB TOTAL                                                                  95.24     $                20,246.00


             TOTAL                                                                     132.14     $                29,471.00




            Exhibit A is consistent with the tabular summary provided above, which therefore

     reflects that Marcum incurred fees of$ 29,471.00 and expenses of$39.89.



                                           MEMORANDUM OF LAW

     I.     Summary of Services Rendered by Marcum

            The professional services rendered by Marc1pl1 'are set forth and described in more detail

     in Exhibit A. The attached records show the time spent. A mere reading of the time summaries

     cannot completely reflect the full range of services rendered by Marcum, the complexity of the

     issues, and the pressures of time and performance which have been placed upon Marcum in

     connection with this case. Marcum analyzed financial data, prepared financial analysis for five
                                                              4
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     (5) entities, drafted detailed disclosure statements for each entity.                        Additionally, Marcum

     rendered tax calculations to the Receiver.                      .'


            Marcum has not been paid any compensation in connection with the services and

     expenses set forth herein.

     II.    Applicable Legal Standard Analysis

            In determining accountants' fees, a court must (1) determine the nature and extent of the

     services rendered; (2) determine the value of those services; and (3) consider the factors set forth

     in Johnson v. Georgia Highway Express, Inc., 488 F. 2d. 714 (5 th Cir. 1974). See Grant v.

     George Schumann Tire & Battery Co., 908 F.2d 874, 877-78 (11th Cir. 1990) (bankruptcy fee

     award case addressing the issue of attorney's fees generally before considering specific

     requirements in the bankruptcy context).                The twelve factors set forth in Johnson, a case

     involving an award of attorneys' fees under Federal civil rights statutes, as incorporated by the

     Eleventh Circuit in Grant, a bankruptcy case, are as follows: (l) the time and labor required; (2)

     the novelty and difficulty of the questions presented; (3) the skill required to perform the

     services properly; (4) the preclusion of other employment by the accountants due to acceptance

     of the case; (5) the customary fee for similar work in the community; (6) whether the fee is fixed

     or contingent; (7) time limitations imposed by the client or by the circumstances; (8) the amount

     involved and results obtained; (9) the experience, reputation, and ability of the accountants (10)

     the undesirability of the case; (11) the nature and length of the professional relationship with the

     client; and (12) awards in similar cases.

            A.       The Time and Labor Required

            The foregoing summary description, together with the time records attached hereto, detail
                                                                     , \1.

     the time, nature, and extent of the professional services rendered by Marcum during the period

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     covered by this Application. Marcum has no doubt that the time spent is justified by the results

     that have been achieved thus far. Marcum believes they have played a significant role during the

     course of these proceedings and will continue to do so in the future.

            B.       The Novelty and Difficulty of the Questions Presented

            This case required a high level of skill to carry out Marcum's duties.

            C.       The Skill Requisite to Perform the Services Properly

            In order to perform the required services, substantial accounting skill and experience in

     the area of forensic accounting is required of Marcum who is acutely aware of the financial

     considerations arising in receiverships such as this one. Accordingly, as this Court may gather

     from Exhibit A, Marcum has very leanly staffed the administration of this case as much as

     possible, under the direction and immediate supervision of Morris Berger.

            D.       The Preclusion of Other Employment Due to This Case

            Although Marcum was not explicitly precluded as a result of this case from accepting

     other matters, matters in this case were treated by Marcum in an expeditious and professional

     manner. Also, this case required Marcum to devote a significant amount of time during the

     period of this Application, to the preclusion of expending time on other active matters.

            E.       The Customary Fee

            The hourly rates of Marcum's professionals set forth on the attached exhibit reflect a rate

     that is considerably lower than the hourly rates billed by Marcum to clients in other cases. That is

     because Marcum views this work as being in the nature of "public service," which Marcum is

     proud and privileged to be able to do.             Similar - and higher - rates have been confirmed and

     approved in other matters in which Marcum has been involved.




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             F.       Whether the Fee Is Fixed or Contingent

             The compensation of Marcum in this matter is subject to the approval of this Court, and

     Marcum has not received any compensation for their services rendered to date. The above

     factors should be taken into consideration by this Court, and the compensation should reflect the

     assumption of the risk of non-payment and delay in payment.

             G.       The Time Limitations Imposed

             This case imposed time limitations on Marcum due to the necessity for rapid resolutions

     of issues.

             H.       The Experience, Reputation, and Ability of the Professionals

             Marcum enjoys a fine reputation and has proven substantial ability in the fields of

     forensic accounting, equity receiverships, litigation, bankruptcy, creditors' rights, and business

     reorganizations.

             I.       The "Undesirability" of the Case

             This case is not undesirable, and Marcum is indeed privileged to participate in this

     proceeding.

             J.       The Nature and Length of Professional Relationship

             Marcum has had no prior relationship with Milton, Center, or the Receivership Entities

     prior to this case.

             K.       Awards in Similar Cases

             The amounts requested by Marcum are not unreasonable in terms of awards in cases of

     similar magnitude and complexity. The compensation requested by Marcum comports with the

     mandate of applicable law, which directs that services be evaluated in light of comparable

     services performed in other cases in the community. In fact, the hourly rates requested by

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    Marcum are considerably lower than the ordinary and usual hourly rates billed by Marcum to

    their ordinary clients, notwithstanding the risks associated with this case. The hourly rates are

     even lower than rates received by Marcum in other receivership cases.

            L.       The Source of Payment for the Amounts Sought Hereunder

            Marcum requests that the amounts for which payment is authorized hereunder be paid

     from funds presently held by the Receiver.

                                                    CERTIFICATION

            Pursuant to Local Rule 7.1.A.3, the undersigned hereby certifies that the Securities and

     Exchange Commission and the Defendants have no objection to the relief requested herein.

            The undersigned also certifies that:

            a. He has read this Application;

            b. To the best of his knowledge, information and belief formed after reasonable inquiry,

                 this Application and all fees and expenses therein are true and accurate, and comply

                 with the Billing Instructions;

            c. All fees contained in this Application are based on the rates listed in the Exhibit

                 attached hereto and such fees are reasonable, necessary and commensurate with the

                 skill and experience required for the activity performed;

            d. He has not included in the amount for which reimbursement is sought the

                 amortization of the cost of any investment, equipment, or capital outlay (except to the

                 extent that any such amortization is included within the permitted allowable amounts

                 set forth herein for photocopies and facsimile transmission); and

            e. In seeking reimbursement for a service which he justifiably purchased or contracted

                 for from a third party (such as copying, imaging, bulk mail, messenger service,

                                                                8
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                overnight courier, computerized research, or title and lien searches), he requests

                reimbursement only for the amount billed to him by the third party vendor and paid

                by him to such vendor.               He certifies that he is not making a profit on such

                reimbursable service.

                                                     CONCLUSION

            WHEREFORE, Marcum respectfully requests that this Court enter the proposed Order,

     attached as Exhibit B, authorizing compensation to Marcum of $29,471.00 in fees and $39.89 for

     expenses, and for any other relief that is just and proper.

     Dated: April 30th, 2012                                        Respectfully submitted,


                                                                     lsi Morris I. Berger
                                                                     Morris I. Berger
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